
*97CARLSON, Presiding Justice,
for the Court:
¶ 1. Randy Lamar Tapper was convicted by a Jackson County Circuit Court jury on two counts of sexual battery and five counts of touching of a child for lustful purposes. Tapper was sentenced to life imprisonment on each count of sexual battery and to fifteen years on each count of touching of a child for lustful purposes, with all sentences to run consecutively. After the trial judge denied his Motion for Judgment Notwithstanding the Verdicts, or in the Alternative, a New Trial, Tapper perfected this appeal, alleging errors at the trial-court level. Finding Tapper’s assignments of error to be without merit, we affirm the judgment of the Circuit Court of Jackson County.
FACTS AND PROCEEDINGS IN THE TRIAL COURT
¶ 2. The mother of C.C. and L.P.,1 the two victims, testified at trial that she gave her daughters permission to play at Randy Tapper’s house with his daughter during the summer of 2006. The two girls spent the weekend of August 18, 2006, with Tapper. After the girls returned home the following Monday, they came into their residence by themselves and went to bathe. Their mother discovered that their vaginal areas were red, and the girls told her that they were “burning.” The girls were then taken to the emergency room.
¶ 3. Toby Nix, an emergency-room staff nurse at Singing River Hospital, treated C.C. on August 20, 2006. Nix testified to conducting a sexual-assault examination on C.C. and to finding erythema, or redness, in C.C.’s vaginal area and a single pin-worm in the hymenal area. Catherine Shaver, also an emergency-room nurse at Singing River Hospital, examined L.P. on August 20 and testified to noticing erythe-ma in L.P.’s vagina and moist secretions. Further, Nicole Tapper, Randy Tapper’s wife, testified that during the summer of 2006, C.C. and L.P. would stay the night at her home and sleep with her husband.
¶ 4. During her testimony, L.P. asserted that Tapper touched her “wrong spot,” or vagina, and her leg with his hand and his penis. She testified that Tapper attempted to put his “wrong spot” into her “wrong spot,” which caused her to scream. L.P. also testified to seeing Tapper try to put his “wrong spot” into her sister’s, C.C.’s, “wrong spot” as well. L.P. stated that Tapper had touched her “wrong spot” with his “wrong spot” (penis) about five times over the summer of 2006. Nurse Shaver also testified that at the emergency room, L.P. told her that Tapper had put his penis between her buttocks and her legs, and he had threatened to hurt her and her parents. C.C. testified that Tapper touched her “coochie,” or vagina, with his hand; however, during trial, she could not remember many events from the time in question. Nurse Nix testified that C.C. had told her that Tapper had touched her vagina with his penis and his finger.
¶ 5. Laura Greer, the former program coordinator for the South Mississippi Child Advocacy Center, testified that she had performed forensic interviews with L.P. and C.C., and the jury was played a tape of these interviews. S.F., a minor,2 also testified that she and her sister would spend the night at Tapper’s house when she was nine years old and her sister was eight. She stated that Tapper would “al*98ways try to take his private and put it in mine.” S.F. further testified that Tapper had threatened to kill her if she told anyone.
¶ 6. Tapper testified in his own defense. He denied sexually abusing or inappropriately touching either L.P. or C.C. Tapper stated that the two girls had made up the allegations “[b]ecause [their] mother knew that I knew there was inappropriate things going on inside her home, and I’m afraid she knew that I was going to turn her in for them.”3 Also, he accused another person of S.F.’s molestation. The defense rested after Tapper’s testimony.
¶ 7. The jury returned verdicts finding Tapper guilty of one count of sexual battery upon C.C., one count of touching of a child for lustful purposes (touching) upon C.C., one count of sexual battery upon L.P., and four counts of touching upon L.P. The trial court sentenced Tapper to life in the custody of the Mississippi Department of Corrections on both counts of sexual battery and to fifteen years on each count of touching, all to run consecutively. After a hearing, on Tapper’s Motion for Judgment Notwithstanding the Verdicts, or in the Alternative, a New Trial, the trial court entered an order denying Tapper’s motion. Thus, Tapper appealed to this Court.
DISCUSSION
¶8. Tapper presents three issues for this Court’s consideration: (1) whether the trial court violated Tapper’s fundamental right to a fair and impartial jury by failing to excuse jurors for cause; (2) whether the trial court erred in denying the motion to quash the indictment for not adequately informing Tapper of the nature of the charges against him; and (8) whether Tapper’s convictions for touching merge with his convictions for sexual battery and therefore violate his rights under the Double Jeopardy Clause of the United States Constitution.
¶ 9. We now restate the issues for the sake of clarity in today’s discussion.
I. WHETHER THE TRIAL COURT ERRED IN FAILING TO EXCUSE JURORS FOR CAUSE.
¶ 10. “The determination of whether a juror is fair or impartial is a judicial question, and it will not be set aside except where there is a finding that the determination clearly appears to be wrong.” West v. State, 820 So.2d 668, 671 (Miss.2001) (citing Carr v. State, 555 So.2d 59, 60 (Miss.1989)). “[T]his Court will treat with deference a venire person’s assertions of impartiality.” Barfield v. State, 22 So.3d 1175, 1184-85 (Miss.2009) (citing Scott v. Ball, 595 So.2d 848, 850 (Miss.1992)).
¶ 11. Tapper asserts that the trial court erred in failing to excuse three jurors for cause. He also contends that it was error for the trial court to grant a challenge for cause by the State. Specifically, Tapper argues that jurors number 6, 9, and 31 should have been struck for cause because they each declared that Tapper should have to prove his innocence in clear contradiction to Tapper’s fundamental right not to testify. The State moved to strike juror number 23 for cause, and the trial court granted this challenge because that juror’s brother had been prosecuted by the same [prosecutor’s] office and tried by the same judge for fon*99dling, and the juror stated that he did not believe his brother’s trial was fair. Tapper, however, asserts that “the disparate treatment by the trial court of defense counsel’s motions as compared to the State’s motion cannot be reconciled.” Tapper’s argument with respect to juror number 28 is simply without merit. “Any juror shall be excluded ... if the court be of opinion that he cannot try the case impartially, and the exclusion shall not be assignable for error.” Miss.Code Ann. § 13-5-79 (Rev. 2002).
¶ 12. Tapper also ultimately challenged jurors number 6, 9, and 31 peremptorily. A prerequisite to Tapper’s elaim on appeal “is a showing that he had exhausted all of his peremptory challenges and that the incompetent juror was forced upon him by the trial court’s erroneous ruling.” Chisolm v. State, 529 So.2d 635, 639 (Miss.1988); see Ross v. Oklahoma, 487 U.S. 81, 88, 108 S.Ct. 2273, 101 L.Ed.2d 80 (1988) (the loss of a peremptory challenge does not constitute a violation of the constitutional right to an impartial jury).
¶ 13. During the jury-selection conference, defense counsel challenged jurors number 6, 9, and 31 for cause, and after hearing arguments from the prosecutor and defense counsel, the trial judge refused to remove these jurors for cause. Eventually, defense counsel exercised peremptory challenge D-2 on juror number 6, peremptory challenge D-4 on juror number 9, and peremptory challenge D-104 on juror number 31. Therefore, none of these challenged jurors sat on the trial jury.
¶ 14. In Christmas v. State, 10 So.3d 413, 423 (Miss.2009), we reiterated:
This Court has explained that a prerequisite to presentation of a claim of a denial of constitutional rights due to denial of a challenge for cause is a showing that the defendant had exhausted all of his peremptory challenges and that the incompetent juror was forced by the trial court’s erroneous ruling to sit on the jury. Chisolm v. State, 529 So.2d 635, 639 (Miss.1988)
Christmas, 10 So.3d at 423 (emphasis added) (citing Mettetal v. State, 615 So.2d 600, 603 (Miss.1993)).
¶ 15. While the record reveals that Tapper had exercised all of his twelve peremptory challenges, Tapper is unable to show that any of these three challenged jurors were forced upon him by eventually sitting on the trial jury. Christmas, 10 So.3d at 423. Thus, Tapper’s claim must fail. After defense counsel exercised peremptory challenge D-10 on juror number 31, Tapper, through counsel, exercised peremptory challenge D-ll on juror number 33 (juror number 32 had been struck for cause), and peremptory challenge D-12 on juror number 41. Therefore, according to the record, Tapper, through counsel, accepted as members of the trial jury juror number 36 and juror number 38, before exercising peremptory challenge D-12 on juror number 41.
¶ 16. For these reasons, we find this issue to be without merit.
*100II. WHETHER TAPPER’S INDICTMENT SHOULD HAVE BEEN QUASHED.
¶ 17. The question of whether an indictment is defective is an issue of law and therefore deserves a relatively broad standard of review, or de novo review, by this Court. Montgomery v. State, 891 So.2d 179, 185 (Miss.2004) (citing Nguyen v. State, 761 So.2d 873, 874 (Miss.2000); Peterson v. State, 671 So.2d 647 (Miss.1996)).
 ¶ 18. Before turning to our discussion of Counts IV, V, VI, and VII of the indictment, which counts are the focus of Tapper’s argument on this issue, we briefly mention the first three counts. Count I charged Tapper with sexual battery related to C.C. “on or between August 19, 2006 and August 21, 2006” by “placing his finger in her vagina.” Count II charged Tapper with child-fondling related to C.C. “on or between August 19, 2006 and August 21, 2006” by handling, touching, or rubbing with his hand or any part of his body “the vagina of C.C.” Count III charged Tapper with sexual battery related to L.P. “on or between August 19, 2006 and August 21, 2006 ... [by] placing his finger in her vagina.”
¶ 19. In Morris v. State, 595 So.2d 840 (Miss.1991), although there was evidence that the defendant had sexually molested his stepdaughter over a period of time several years earlier, the defendant was indicted on one count of touching a child for lustful purposes and two counts of sexual battery, occurring with the same stepdaughter, by then fifteen years of age, between March and May, 1986. Id. at 841. The victim testified that she had endured six years of continual sexual molestation at the hands of her stepfather, the defendant. Id. The defendant claimed that his fifteen-year-old, honor-roll stepdaughter should have been capable of recalling specific dates on which the acts occurred so that he could prepare an alibi defense. Id. at 841-42. We are not informed in Morris of the specific language of the indictment charging the defendant with two counts of sexual battery. We know only that, in the end, after a discussion of Wilson v. State, 515 So.2d 1181 (Miss.1987), and McCullum v. State, 487 So.2d 1335 (Miss.1986), the Court in Morris concluded that “the victim’s testimony amply illustrates the fact that the State could not narrow the time frame any more than it did,” and that the defendant “was fully and fairly advised of the charge against him.” Id. at 842.
¶20. In Price v. State, 898 So.2d 641 (Miss.2005), the defendant was convicted of three counts of statutory rape. Each count involved the same victim and involved identical allegations that the defendant had committed the crime of statutory rape “by the insertion of his penis into the vagina of [the victim].” Id. at 654-55. The main difference in each of the three counts was the alleged dates that these acts occurred, with one count alleging that the act occurred “[d]uring the month of September, 1992,” one couht alleging that the act occurred “[b]etween the 15th day of December, A.D., 1992 and the 25th day of December, A.D., 1992,” and one count alleging that the act occurred “[d]uring the month of August, 1995.” Id. Citing Morris and Uniform Rule of Circuit and County Court Procedure 7.06(5), this Court found that the statutory rape charges contained in each of the three counts “were sufficiently specific as to apprise the defendant of the charges against [the defendant].” Id. at 655.
¶ 21. Without question, consistent with Morris and Price, and Uniform Rule 7.06, the language of Counts I, II, and III sufficiently apprised Tapper of the charges against him so as to allow him to prepare a defense.
*101¶ 22. Now we address Tapper’s main argument. Tapper argues that the indictment, as it relates to counts IV, V, VI, and VII, failed adequately to notify him of the nature and cause of the accusation, rendering the indictment defective. These counts of the indictment all stated the following:
in Jackson County, Mississippi, on or between June 1, 2006 and August 19,5 2006, being at the time in question over the age of eighteen (18) years, for the purpose of gratifying his lust, or indulging his depraved licentious sexual desires, did unlawfully, willfully and felo-niously handle, touch or rub with this hand, or any party of his body, or any member thereof, the vagina of [L.P.], a child who was at the time in question under the age of sixteen (16) years, contrary to the form of the statute in such cases made and provided, and against the peace and dignity of the State of Mississippi.6
Tapper also asserts that the failure of the indictment to allege more specific dates denied him the opportunity to present any defense other than denial. The State, however, argues that the counts of the indictment clearly and sufficiently informed Tapper of the felonies with which he was charged. “The indictment upon which the defendant is to be tried shall be a plain, concise, and definite written statement of the essential facts constituting the offense charged and shall fully notify the defendant of the nature and cause of the accusation against him.... ” Nguyen, 761 So.2d at 874-75 (citations omitted). In a child sexual-abuse case, a specific date is not required so long as the defendant is fully and fairly informed of the charges against him. Eakes v. State, 665 So.2d 852, 860 (Miss.1995) (citing Morris v. State, 595 So.2d 840, 842 (Miss.1991)).
¶ 28. As noted by the dissent, this Court has not been confronted with the issue of whether multi-count indictments which allege identical acts of conduct are sufficient to put the defendant on notice as to “the essential facts constituting the offense charged and ... the nature and cause of the accusation.” URCCC 7.06.
¶ 24. We first state that, consistent with our discussion above concerning Counts I, II, and III, the time frame of the acts committed by Tapper as alleged in Counts IV, V, VI, and VII (“on or between June 1, 2006 and August 17, 2006”) was sufficient to apprise Tapper concerning the date-and-time requirement of Uniform Rule of Circuit and County Court Practice 7.06(5). The issue is as to the four acts allegedly committed by Tapper upon L.P. as set out in these latter four counts.
¶ 25. We first note that the dissent relies in part on Moses v. State, 795 So.2d 569 (Miss.Ct.App.2001). In Moses, the Court of Appeals stated:
No formal amendment of the indictment was ever undertaken to narrow the dates of the alleged offenses or to attempt to differentiate the facts of the separate alleged incidents by providing even the sketchiest facts of what was alleged to have occurred.
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In the case before us, it is patently clear that the State, in drafting the repetitively identical and essentially uninformative counts of this indictment, made no effort to narrow the dates of the separate offenses in any meaningful way. We do *102not, therefore, face the situation where the State, after its best investigative effort, could only narrow the span of time for an offense to a period in excess of three years. The problems with requiring a defendant to present a defense to such an accusation seem self-evident but we may leave for another day the question of whether the problems are of sufficient gravity to bar the State from proceeding with a prosecution in that circumstance. In this case, there is no question but that the State was aware of information that would have easily permitted it to provide substantially shortened ranges of dates for each offense, together with other relevant facts that would have more specifically identified the alleged incident upon which that count was based. For reasons not apparent in this record, and for which we can find no reasonable excuse, the State declined to do so, proceeding instead to subject Moses to prosecution on multiple criminal counts relying solely on an indictment that was fundamentally ineffective to properly inform him of even the most basic circumstances giving rise to the charges against him.
Moses, 795 So.2d at 572. This is not the situation in today’s case. In our case today, there is no evidence “that the State was aware of information that would have easily permitted it to provide substantially shortened ranges of dates for each offense, together with other relevant facts that would have more specifically identified the alleged incident upon which the count was based.” Further, the State in today’s case narrowed the time frame to less than three months, not a three-year time span as in Moses, and undertook properly to seek amendment of the indictment as necessary. In our case today, it appears from the record and testimony, that the State could not narrow the time frame or provide more specific details than it did.
¶ 26. Laying aside the testimony of the two emergency-room nurses and the program coordinator for the South Mississippi Child Advocacy Center, we focus on the testimony of L.P. as to these four child-fondling counts. L.P. called Tapper “Uncle Randy.” L.P. testified that during the summer of 2006, every time L.P. and C.C. spent the night at Tapper’s house, they slept in the bed with Tapper, except for one occasion. L.P. testified that Tapper would touch her “wrong spot” (vagina) with his “wrong spot” (penis). L.P. could not remember the dates when this occurred. The prosecutor also asked L.P. if Tapper “ever tried to put his wrong spot in your wrong spot,” and L.P. answered “[y]es, sir.” L.P. reacted to Tapper’s actions by screaming. The prosecutor asked L.P. how many times during the summer of 2006 Tapper touched her, and L.P. responded “[a]bout five.” L.P. again reiterated that the touching involved Tapper’s “wrong spot” touching her “wrong spot.”
¶ 27. Tapper’s defense was that he did not sexually abuse or inappropriately touch L.P. or C.C. Tapper testified that the mother of L.P. and C.C. “coached” the girls into making these false charges because the mother “knew that I knew there was inappropriate things going on inside her home, and I’m afraid she knew that I was going to turn her in for them.” The cold, hard facts are that, even if these young, immature girls had the ability to describe to the prosecutor in adult terms and in the most graphic detail the acts which they said Tapper committed upon them, Tapper would not have been in any better position to prepare his defense “that he didn’t do it,” and that the false charges against him were a result of the girls’ mother coaching them because the mother feared being reported by Tapper, for all the “inappropriate things going on inside [the mother’s] home.”
*103¶ 28. While we implore our prosecutors to be as specific as possible in drafting indictments, consistent with the provisions of Uniform Rule of Circuit and County Court Practice 7.06, in all cases, but specifically in cases involving allegations of sex offenses committed upon minor children, we find that the facts and circumstances of today’s case lead us to the conclusion that the trial court committed no error in refusing to quash this multi-count indictment, as amended, handed down against Tapper by the Jackson County grand jury. For the reasons stated, this issue is without merit.
III. WHETHER TAPPER’S CONVICTION FOR TOUCHING MERGES WITH HIS CONVICTION FOR SEXUAL BATTERY.
¶ 29. Double-jeopardy claims also are questions of law and are reviewed de novo. Brown v. State, 731 So.2d 595, 598 (Miss.1999); see also Deeds v. State, 27 So.3d 1135, 1139 (Miss.2009).
¶ 30. Tapper asserts, citing Friley v. State, 879 So.2d 1031, 1035 (Miss.2004), that under Mississippi law, touching of a child for lustful purposes is a lesser-included offense of sexual battery with penetration, and therefore, the two offenses merge, making Tapper’s conviction for count two of touching upon C.C. viola-tive of the Double Jeopardy Clause of the United States Constitution. The State points out that, although this Court, in Friley, did find under the “particular circumstances” that “molestation is a lesser-included offense of sexual battery” and that “[i]t is impossible to penetrate without touching,” Friley, 879 So.2d at 1035, Tapper ignores the fact that it is possible to commit an unlawful touching without committing sexual battery. Sexual battery requires penetration, while unlawful touching does not. In today’s case, the sexual-battery counts concern events separate from the unlawful-touching counts. There was testimony that Tapper had touched C.C. with both his finger and his penis, and evidence was presented showing penetration of C.C. As previously stated by this Court:
Double jeopardy protects criminal defendants from being exposed to more than one prosecution for the same offense. It does not protect a defendant against different prosecutions for different offenses. Hughes v. State, 401 So.2d 1100 (Miss.1981). It is not a legal analog to some sort of “blue light special” where a defendant, by having the foresight or good fortune to commit the same crime or different crimes in close connection to each other, gets two or more offenses for the price of one.
Wright v. State, 540 So.2d 1, 5 (Miss.1989); see also Ball v. State, 437 So.2d 423, 425 (Miss.1983) (“Temporal proximity does not generate a juridical union of separate and distinct criminal acts, nor does the presence of a common nucleus of operative facts.”). The evidence presented in today’s case does not support Tapper’s argument that his convictions for “touching” merge with his convictions for sexual battery. Thus, this issue is without merit.
CONCLUSION
¶ 31. For the reasons stated, Randy Lamar Tapper’s convictions and sentences in the Circuit Court of Jackson County on all counts are affirmed.
¶ 32. COUNT I: CONVICTION OF SEXUAL BATTERY AND SENTENCE OF LIFE IMPRISONMENT IN THE CUSTODY OF THE MISSISSIPPI DEPARTMENT OF CORRECTIONS, AFFIRMED. COUNT II: CONVICTION OF TOUCHING OF A CHILD FOR LUSTFUL PURPOSES AND SENTENCE OF FIFTEEN (15) YEARS IN *104THE CUSTODY OF THE MISSISSIPPI DEPARTMENT OF CORRECTIONS, AFFIRMED. COUNT III: CONVICTION OF SEXUAL BATTERY AND SENTENCE OF LIFE IMPRISONMENT IN THE CUSTODY OF THE MISSISSIPPI DEPARTMENT OF CORRECTIONS, AFFIRMED. COUNT IV: CONVICTION OF TOUCHING OF A CHILD FOR LUSTFUL PURPOSES AND SENTENCE OF FIFTEEN (15) YEARS IN THE CUSTODY OF THE MISSISSIPPI DEPARTMENT OF CORRECTIONS, AFFIRMED. COUNT V: CONVICTION OF TOUCHING OF A CHILD FOR LUSTFUL PURPOSES AND SENTENCE OF FIFTEEN (15) YEARS IN THE CUSTODY OF THE MISSISSIPPI DEPARTMENT OF CORRECTIONS, AFFIRMED. COUNT VI: CONVICTION OF TOUCHING OF A CHILD FOR LUSTFUL PURPOSES AND SENTENCE OF FIFTEEN (15) YEARS IN THE CUSTODY OF THE MISSISSIPPI DEPARTMENT OF CORRECTIONS, AFFIRMED. COUNT VII: CONVICTION OF TOUCHING OF A CHILD FOR LUSTFUL PURPOSES AND SENTENCE OF FIFTEEN (15) YEARS IN THE CUSTODY OF THE MISSISSIPPI DEPARTMENT OF CORRECTIONS, AFFIRMED. ALL COUNTS SHALL RUN CONSECUTIVELY TO EACH OTHER.
WALLER, C.J., RANDOLPH, CHANDLER AND PIERCE, JJ., CONCUR. KITCHENS, J., CONCURS IN PART AND DISSENTS IN PART WITH SEPARATE WRITTEN OPINION JOINED BY GRAVES, P.J., DICKINSON AND LAMAR, JJ.

. The two minor victims will be referred to as C.C. and L.P. At the time of the incidents, C.C. was six years old, and L.P. was eight years old.


. S.F. was thirteen years old at the time of the trial.


. This testimony from Tapper was during the State’s cross examination of him. Later on in the State’s cross-examination, the following occurred: "Q. Mr. Tapper, you know that [L.P.] has watched a ponographic [sic] movie, that’s what you’re telling us? A. I know that inappropriate things goes on inside that trailer; yes sir, I do.”


. Tapper was on trial on a grand-jury indictment charging him with two counts of sexual battery and five counts of touching of a child for lustful purposes. The two counts of sexual battery were alleged to be violations of Mississippi Code Section 97 — 3—95(l)(d) (Rev. 2006), thus meaning that if convicted, Tapper stood the possibility of being sentenced to life imprisonment. Miss.Code Ann. § 97-3-101(3) (Rev. 2006). Therefore, based on the sexual-battery counts, Tapper was on trial for the alleged commission of capital offenses, as defined by Mississippi Code Section 1-3-4 (Rev. 2005). Thus, Tapper was entitled to twelve peremptory challenges. URCCC 10.01.


. Count IV actually alleged the end date as being August 20, 2006, while Counts V-VII did in fact allege the end date as being August 19, 2006.


. By order of the trial court, Counts IV, V, VI, and VII were amended to state "on or between June 1, 2006 and August 17, 2006.”

